Case 8:18-cv-02052-VMC-CPT Document 8 Filed 08/29/18 Page 1 of 2 PageID 35




                    UNITED STATES DISTRICT COURT
                     MIDDLE DISTRICT OF FLORIDA
                           TAMPA DIVISION

  CARLOS RAMOS,

             Plaintiff,

  v.                                    Case No. 8:18-cv-2052-T-33CPT

  ATLANTIC COAST ENTERPRISES, LLC,

            Defendant.
  ________________________________/

                                  ORDER

       This matter comes before the Court pursuant to pro se

  Plaintiff Carlos Ramos’ Motion for Permission for Electronic

  Case Filing (Doc. # 7), filed on August 28, 2018. In an effort

  to ensure the dictates of Federal Rule of Civil Procedure 1

  are effectuated, the Court authorizes Ramos’ use of CM/ECF in

  this action. Ramos is directed to visit the Court’s website

  and register for CM/ECF accounts (login and password) with

  the assistance of the Clerk’s office. Ramos is directed to

  contact Ariel Guzman at (813) 301-5439 for assistance. Once

  Ramos receives a CM/ECF account, Ramos is directed to utilize

  the Court’s electronic case management filing system when

  filing any document with the Court.

       Ramos is cautioned that he must comply with the Local

  Rules of the Middle District of Florida, the Federal Rules of



                                    1
Case 8:18-cv-02052-VMC-CPT Document 8 Filed 08/29/18 Page 2 of 2 PageID 36




  Civil   Procedure,    and   the   Administrative       Procedures      for

  Electronic Filing. The Court directs Ramos to review these

  rules prior to filing any document on CM/ECF. Additional

  information regarding CM/ECF is available on the Court’s

  website at www.flmd.uscourts.gov.

       Accordingly, it is hereby

       ORDERED, ADJUDGED, and DECREED:

       Plaintiff    Carlos    Ramos’    Motion    for    Permission      for

  Electronic Case Filing       (Doc. #    7)     is   GRANTED.   Ramos    is

  directed to register for a CM/ECF account (login and password)

  with the assistance of the Clerk’s Office as detailed herein.

       DONE and ORDERED in Chambers, in Tampa, Florida, this

  29th day of August, 2018.




                                    2
